              Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 1 of 16




     LAW OFFICE OF NIC COCIS
 1
     Nicolai Cocis, State Bar No. 204703
 2   25026 Las Brisas Rd.
     Murrieta, California 92562
 3   nic@cocislaw.com
 4
     Telephone:      (951) 695-1400
 5   Facsimile:      (951) 744-0079

 6
     Attorney for Defendant
 7   Lewis Easton Cantwell

 8
 9                                    UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA
10
11     UNITED STATES OF AMERICA,

12                                                               Case No. 1:21-CR-00089-EGS
                       Plaintiff,
13
               vs.                                               DEFENDANT’S SENTENCING POSITION
14
15     LEWIS EASTON CANTWELL,
16
                       Defendant.
17
18   Honorable Judge Sullivan:

19          This memorandum is submitted on behalf of defendant Lewis Easton Cantwell in anticipation of
20
     his sentencing before Your Honor at 1:00 P.M. on September 22, 2022.
21
            Mr. Cantwell and I have reviewed Probation Officer Reichler’s very thorough Presentence
22
23   Investigation Report which she prepared for Your Honor. Mr. Mr. Cantwell does not object to the

24   factual basis or the calculation of his criminal history.
25          On March 24, 2022, Mr. Cantwell pled guilty to Count 1 of the Indictment. Mr. Cantwell’s plea
26
     has a sentencing guideline imprisonment range of 0 to 6 months.
27
28

                                                            1
                  Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 2 of 16




                By this letter, and for reasons set forth below, I am respectfully asking Your Honor to follow the
 1
 2   Probation Officer’s recommendation and fashion a sentence for Mr. Cantwell under Title 18 USC

 3   3553(a) that will amount to three years of probation, community service and, if necessary, a period of
 4
     location monitoring. I respectfully submit that this would be a substantial sentence that is sufficient, but
 5
     not greater than necessary.
 6
 7              I would be less than candid with Your Honor if I didn’t state outright that the primary

 8   motivation for the requested sentence I have made here is Dr. Richard Romanoff 1 conclusion on page
 9   25 of his report:
10
            Standing back from the immediacy of the present, and looking at the story of Mr. Cantwell’s
11          life as a whole, I am amazed by his determined persistence to learn from his mistakes and to do
            better, in a manner that illustrates a strength of character and a desire for self-improvement that
12          deserves recognition and respect.
13
                As Your Honor reads Dr. Romanoff’s report, you will learn that his evaluation provides
14
     important and relevant background information that I believe yields significant evidence of mitigating
15
16   factors directly contributing to Mr. Cantwell’s actions in this case. This includes a childhood history of

17   serious and extensive physical abuse, that occurred in the context of an unusually chaotic and
18
     dysfunctional family home environment. It also includes a history of adolescent and early adult
19
     instability, that contains some evidence of poor judgment. Importantly, however, there is no evidence of
20
     any physically or verbally violent behavior by Mr. Cantwell towards others, and no evidence of
21
22   involvement by him in any hate groups, including groups agitating for the overthrow of the U.S.

23   government. While there is evidence of unrecognized and untreated trauma, Dr. Romanoff sees no
24
     evidence which indicates the presence of enduring or serious mental illness, and no evidence of any
25
     significant history of substance abuse.
26
27
28
     1
         Dr. Richard Romanoff’s report is filed concurrently but separately.

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              Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 3 of 16




            Your Honor will also learn from Dr. Romanoff’s report that there is evidence indicating that for
 1
 2   a few years prior to his arrest in this case, Mr. Cantwell was making good progress in overcoming long-

 3   standing life difficulties that were previously holding him back. Then, as he was just becoming more
 4
     seriously involved in a much healthier dating relationship with his current dating partner, Ms. Heather
 5
     Halstead, he accepted an invitation from her father to join a small group of individuals from a more rural
 6
 7   area of North Carolina [about 20 miles from Asheville], who were planning to attend what they

 8   understood to be a rally in support of President Trump, with no expectation of the subsequent violence
 9   that would ultimately take place immediately following that rally on January 6, 2021.
10
            Your Honor will then learn Mr. Cantwell’s account of his activities at the Capitol on that day,
11
     which are depicted in much greater detail in Dr. Romanoff’s report. However, in summary, those
12
13   activities include Mr. Cantwell recording a small number of videos on his cell phone as he found

14   himself in what turned out to be the middle of a violent effort by hundreds of active rioters to forcibly
15   enter the Capitol through the West Lower Tunnel Entrance. Mr. Cantwell reports no effort by him to
16
     force his way into the Capitol at any time. Rather, he reports becoming involved in a personal effort to
17
     record unfolding events, for what he increasingly came to understand as an important moment in history.
18
19   During these videos, Mr. Cantwell can be heard making statements such as “get the door open” and

20   “fresh patriots to the front”. At times he turned the camera to himself, to make some statement or voice
21
     some observation, that I would characterize as a series of personal reactions to the intensity and violence
22
     taking place around him. In any event, Mr. Cantwell takes full responsibility for his statements as well
23
24   as his lapse in good judgement.

25          Assistance to Two Injured Individuals
26          Mr. Cantwell also described to Dr. Romanoff in some detail two separate efforts by him to aid
27   individuals who were in active distress during these events. One involved Mr. Cantwell helping to
28   provide assistance to a female demonstrator who at one point was being crushed by the physical pressure

                                                          3
              Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 4 of 16




 1   of people pushing against her in the constricted space they were occupying. The other involved him at
 2   one point, while standing outside the West Lower Tunnel Entrance to the Capitol, overhearing a Capitol
 3   police officer calling out for assistance, because another Capitol police officer was being attacked by
 4   other demonstrators. At that point, along with some others, Mr. Cantwell helped in extricating this
 5   officer from those attacking him, and then along with those other individuals, helped return him to the
 6   custody of his fellow Capitol police officers, who were then able to hustle him into the Capitol for
 7   further assistance. From his own research, conducted after his return home, Mr. Cantwell believes that
 8   individual was most likely Officer Michael Fanone, who the Government mentions on pages 13 and 14
 9   of their Sentencing Memorandum. I’ve attached as Exhibit “A” an article from the Washington Post
10   dated May 5, 2022, regarding the sentencing of an individual who physically attacked Officer Fanone. In
11   reading it, I was struck by similarities in the description provided by Officer Fanone in that article and
12   the description provided by Mr. Cantwell to Dr. Romanoff (last paragraph of page 9 and continuing to
13   top of page 10) more than a month prior to this article being published.
14          Cooperation with U.S. House Select Committee
15          On April 6, 2022, I was contacted by Mr. Marcus Childress who was an Investigative Counsel
16   for the U.S. House Select Committee to Investigate the January 6th Attack on the United States Capitol.
17   He wanted to know if Mr. Cantwell would assist the Select Committee by volunteering for an interview
18   regarding his role in the January 6th events. (Please see Exhibit “B”). Mr. Cantwell agreed without
19   hesitation, and on April 26, 2022, he was interviewed via Zoom. During that interview, Mr. Cantwell
20   cooperated and answered all the Investigative Counsel’s questions.
21          Conclusion
22          It is neither my nor Mr. Cantwell’s intention in this letter to minimize the seriousness of the
23   events that took place at the United States Capitol on January 6, 2021, or to minimize any of the actions
24   pursued by Mr. Cantwell on that day. Rather, I am attempting to accurately portray Mr. Cantwell as a
25   person, and share the activities pursued by him in the broader context of a particularly chaotic and
26   emotionally intense day, that directly lead him to behave in ways he would not have believed possible
27   on the day before he arrived at the Capitol.
28

                                                          4
              Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 5 of 16




 1          For the reasons discussed above, I submit to Your Honor that a sentence of probation for 36
 2   months along with community service and, if necessary, a period of location monitoring, reflects the
 3   seriousness of Mr. Cantwell’s crime and, for the foregoing reasons, I am respectfully requesting that Mr.
 4   Cantwell be sentenced accordingly.
 5
     Date: August 26, 2022                               Respectfully submitted,
 6
 7                                                       s/ Nicolai Cocis
                                                         ______________________
 8                                                       Law Offices of Nicolai Cocis
                                                         25026 Las Brisas Rd.
 9
                                                         Murrieta, CA 92562
10                                                       Telephone: (951) 695-1400
11                                                       nic@cocislaw.com

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     Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 6 of 16




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28                     Exhibit “A”
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                  Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 7 of 16




                                                Democracy Dies in Darkness




Rioter admits to assaulting
D.C. officer Mike Fanone on
Jan. 6
Fanone, who battled with several rioters, became an outspoken advocate for the
officers injured that day
 By Rachel Weiner
May 5, 2022 at 6:32 p.m. EDT


An Iowa man who brought his teenage son to the Capitol on Jan. 6, 2021, admitted he was among a group that
assaulted D.C. police officer Michael Fanone, who suffered a heart attack and traumatic brain injury defending
Congress from the pro-Trump mob.

Kyle Young, 38, pleaded guilty Thursday in D.C. federal court to one count of assaulting a police officer, which
carries a sentence of up to eight years in prison; prosecutors say the guidelines call for at least five.

Three others are charged with assaulting Fanone. Albuquerque Head, of Tennessee, is scheduled to plead guilty on
Friday, according to court documents. Daniel Rodriguez, a conservative activist from Southern California, tearfully
apologized for using a Taser on Fanone in an FBI interrogation but has since pleaded not guilty. And Thomas Sibick,
35, of Buffalo, is accused of stealing Fanone’s badge and radio; he has also pleaded not guilty.

Young does not know anything about the activities of the others, his lawyer said Thursday.

Young brought his 16-year-old son to D.C. from Redfield, Iowa, for the “Stop the Steal” rally, according to a
transcript of his bond hearing. Just before 3 p.m., they made their way to the Capitol’s lower west terrace, where
D.C. police were trying to keep the violent mob out of a tunnel leading below the Rotunda.

According to his plea agreement, Young shined a strobe light in the eyes of officers and jabbed at them with a long
stick. He helped throw a large audio speaker toward the police; it hit another protester. Then, as rioters dragged
Fanone by the helmet across the police line and into the crowd, Young followed.

Fanone, in interviews and testimony before Congress, has described what happened next. He was stripped of his
radio, badge and bullet magazine. He was beaten with fists and a flagpole and shocked over and over in the back of
the neck with a Taser. Someone tried to take his service weapon out of its holster, shouting “Kill him with his own
gun!” When he pleaded for mercy by shouting, “I got kids!” some in the crowd helped drag him back to the police
line. He was later hospitalized.
                   Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 8 of 16
According to court documents, Fanone told investigators he was “100 percent sure” it was Young who grabbed his
gun and threatened to kill him with it. In his indictment, Young was accused of attempting to steal Fanone’s service
weapon. As part of the plea agreement, the charge was dropped and Assistant U.S. Attorney Cara Gardner said it
would not be discussed at sentencing. Young agreed only that he was seen on a body camera holding Fanone by the
hand and wrist.

Young “pulled the officer’s arm away from his body,” according to the statement of facts filed as part of the plea.
Fanone “experienced excruciating pain and was rendered momentarily helpless.”

Young also admitted assaulting another officer after Fanone, connecting with his helmet.

Young, who works in heat and air conditioning installation, has a felony criminal history that includes drug and
firearm charges.

At a detention hearing last year, his wife said her husband was a Trump supporter and Fox News watcher who went
to D.C. because “they needed to prove to us that this election was free and fair.” He is set to be sentenced on Aug. 28.

Fanone, who voted for Donald Trump in 2016, became an outspoken critic of Republicans who sought to minimize
the horror of the Capitol attack. He resigned from the Metropolitan Police Department in December, saying he was
frustrated by fellow officers who wanted him to be quiet.

“Clearly there are some members of our department who feel their oath is to Donald Trump and not to the
Constitution,” he told The Washington Post at the time.
     Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 9 of 16




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27                     Exhibit “B”
28

                                      7
           Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 10 of 16


From:             Childress, Marcus
To:               Nic Cocis
Cc:               Sasso, James
Subject:          RE: U.S. House Select Committee to Investigate the January 6th Attack on the U.S. Capitol
Date:             Wednesday, April 13, 2022 9:42:21 AM


That works for us. Thank you, Nic.

I will send you a calendar invite this evening.

____________________________
Marcus A.R. Childress
(202)        (o) / (202)     (c)


From: Nic Cocis     @cocislaw.com>
Sent: Wednesday, April 13, 2022 11:38 AM
To: Childress, Marcus                  @mail.house.gov>
Cc: Sasso, James               @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the U.S. Capitol

Something just came up for Easton at work. Could we schedule it half hour later, at 4:00pm on
the 26th?

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
25026 Las Brisas Rd.
Murrieta, CA 92562

Tel:   (951) 695-1400
Fax: (951) 744-0079

Web:          www.CocisLaw.com

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or e-mail, and destroy all copies of this message and any attachments.

From: Childress, Marcus                   @mail.house.gov>
Sent: Wednesday, April 13, 2022 7:43 AM
To: Nic Cocis     @cocislaw.com>
Cc: Sasso, James               @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the U.S. Capitol
       Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 11 of 16



Thanks, Nic.

Let’s do 3:30 pm ET/12:30 pm PT on 4/26. We will send you meeting details a day before and let us
know if you have any questions before.

Talk soon,
Marcus
____________________________
Marcus A.R. Childress
(202)        (o) / (202) 5   (c)


From: Nic Cocis < @cocislaw.com>
Sent: Tuesday, April 12, 2022 3:35 PM
To: Childress, Marcus <                @mail.house.gov>
Cc: Sasso, James               @mail.house.gov>
Subject: Re: U.S. House Select Committee to Investigate the January 6th Attack on the U.S. Capitol

Marcus,

We’re available anytime after 9:00am PST on 4/26 and anytime after 10:00am PST on 4/27.
Hopefully this works with your schedule.

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
25026 Las Brisas Rd.
Murrieta, CA 92562

Tel / Fax: (951) 695-1400
Web:       www.CocisLaw.com

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of this message and any attachments.


      On Apr 11, 2022, at 9:38 AM, Childress, Marcus                      @mail.house.gov>
      wrote:


      Thanks, Nic for the update.
 Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 12 of 16




Do you all have availability the week of April 25th for an interview? The interviews
typically last about two hours, and as we discussed, it will be virtual. If you give us a few
windows of availability that week, we should be able to make one of the times work for
us.

Talk soon.

Thanks,
Marcus
____________________________
Marcus A.R. Childress
(202)        (o) / (202)     (c)


From: Nic Cocis     @cocislaw.com>
Sent: Monday, April 11, 2022 12:09 PM
To: Childress, Marcus                  @mail.house.gov>
Cc: Sasso, James               @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the
U.S. Capitol

Marcus,

I spoke with my client about our discussion, and he would like to move forward
with the interview. Let me know what we need to do next.

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
25026 Las Brisas Rd.
Murrieta, CA 92562

Tel:   (951) 695-1400
Fax: (951) 744-0079

Web:          www.CocisLaw.com

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From: Nic Cocis
 Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 13 of 16


Sent: Thursday, April 7, 2022 2:23 PM
To: Childress, Marcus <                @mail.house.gov>
Cc: Sasso, James               @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the
U.S. Capitol

No problem, thank you!

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
25026 Las Brisas Rd.
Murrieta, CA 92562

Tel:   (951) 695-1400
Fax: (951) 744-0079

Web:          www.CocisLaw.com

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From: Childress, Marcus                   @mail.house.gov>
Sent: Thursday, April 7, 2022 2:21 PM
To: Nic Cocis     @cocislaw.com>
Cc: Sasso, James <J            @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the
U.S. Capitol

Hi Nic – let’s lock in the time. I apologize for my delayed response.

I will send you an invite shortly.

Marcus

____________________________
Marcus A.R. Childress
(202)        (o) / (202)     (c)


From: Nic Cocis < @cocislaw.com>
Sent: Thursday, April 7, 2022 5:20 PM
Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 14 of 16


To: Childress, Marcus                  @mail.house.gov>
Cc: Sasso, James <             @mail.house.gov>
Subject: RE: U.S. House Select Committee to Investigate the January 6th Attack on the
U.S. Capitol

Marcus,

Following up to see if we’re still scheduled for a conference call tomorrow at
1:00pm PST. If so, please call me at the number below.

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
25026 Las Brisas Rd.
Murrieta, CA 92562

Tel:   (951) 695-1400
Fax: (951) 744-0079

Web:          www.CocisLaw.com

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destroy all copies of this message and any attachments.

From: Nic Cocis
Sent: Wednesday, April 6, 2022 6:16 PM
To: Childress, Marcus <                @mail.house.gov>
Cc: Sasso, James               @mail.house.gov>
Subject: Re: U.S. House Select Committee to Investigate the January 6th Attack on the
U.S. Capitol

Marcus,

Thank you for reaching out. I’d be happy to discuss this with you further. I’m free
tomorrow after 12:00pm PST or Friday. Let me when it’s a good time for you.

Best regards,

Nic Cocis
Attorney
Law Office of Nic Cocis
Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 15 of 16
              Case 1:21-cr-00089-EGS Document 51 Filed 08/26/22 Page 16 of 16




 1
                                           CERTIFICATE OF SERVICE
 2
     The undersigned hereby certifies that on August 26, 2022, a true and correct copy of the foregoing was
 3
 4   electronically filed and served via the CM/ECF system, which will automatically send electronic

 5   notification of such filing to all counsel and registered parties.
 6
 7                                                          s/ Nicolai Cocis
                                                            ______________________
 8                                                          Law Offices of Nicolai Cocis
 9                                                          25026 Las Brisas Rd.
                                                            Murrieta, CA 92562
10                                                          Telephone: (951) 695-1400
11                                                          nic@cocislaw.com

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